
23 N.Y.2d 895 (1969)
Beatrice Fortgang et al., Appellants,
v.
Chase Manhattan Bank, as Trustee of General Motors Hourly-Rate Employees Pension Fund, and as Trustee of General Motors Salaried Employees Non-Contributory Retirement Trust, et al., Respondents.
Court of Appeals of the State of New York.
Submitted January 6, 1969.
Decided January 22, 1969.
Benjamin H. Siff and George Mutterperl for appellants.
Joseph P. Napoli for respondents.
Concur: Judges BURKE, BERGAN, KEATING, BREITEL and JASEN. Chief Judge FULD and Judge SCILEPPI dissent and vote to affirm on the memorandum at the Appellate Division.
Order reversed and a new trial granted, with costs to abide the event, in the following memorandum: An issue of fact was raised on the trial as to whether the building lessee maintained properly placed mats on the lobby floor during rainy weather and kept the uncovered areas free of excessive moisture. While the testimony of plaintiffs' expert was hardly capable of inspiring confidence, it cannot be disregarded as a matter of law.
